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AO 442 (Rev. 11/11) Arrest Warrant



                                           United States District Court

                                                                                                                                                                ORIGINAL
                                                                              for the

                                                                 Eastern District of Virginia

                      United States of America
                                 V.                                             )
                                                                                )        Case No. 2:25-mj              (0
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                      MALIK SHAHEEN SHAW                                        ) yss                                    1                 1
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                              Defendant                                                                                                                                         ●j
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                                                                 ARREST WARRANT                                                     CD                                  r-'i
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To:       Any authorized law enforcement officer                                                                                                                    <

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          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)          MALIK SHAHEEN SHAW
who is accused of an offense or violation based on the following document filed with the court:


O Indictment               □ Superseding Indictment                      □Information       □ Superseding Information                                           [^Complaint
□ Probation Violation Petition                 □ Supervised Release Violation Petition                □ Violation Notice                                        □ Order of the Court

This offense is briefly described as follows:
  Possession with intent to distribute a quantity of a mixture and substance containing a detectable amount of psilocyn, a
  Schedule I controlled substance, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C), and

  Felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).




Date:            01/15/2025
                                                                                                           Issuing officer's signature
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                        Norfolk, Virginia
                                                                                                      >c
City and state:                                                                                              V*


                                                                                                            Printed name and title



                                                                              Return


          This warrant was received on (date)                                       , and the person was arrested on (date)                                     I                    S
at (city and state)                                IM
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Date:        /
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                                                                                                      Arresting officer's signature
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                                         CLERK, U.S. DISTh            COURT
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                                                                                                             Printed name and title/
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